 Case 2:22-cv-04355-JFW-JEM Document 443-1 Filed 12/22/23 Page 1 of 5 Page ID
                                 #:35956


 1   Louis W. Tompros (pro hac vice)
     louis.tompros@wilmerhale.com
 2   Monica Grewal (pro hac vice)
     monica.grewal@wilmerhale.com
 3   Scott W. Bertulli (pro hac vice)
     scott.bertulli@wilmerhale.com
 4   Tyler Carroll (pro hac vice)
     tyler.carroll@wilmerhale.com
 5   WILMER CUTLER PICKERING
       HALE AND DORR LLP
 6   60 State Street
     Boston, MA 02109
 7   Telephone: (617) 526-6000
     Fax: (617) 526-5000
 8
     Derek Gosma (SBN 274515)
 9   derek.gosma@wilmerhale.com
     Henry Nikogosyan (SBN 326277)
10   henry.nikogosyan@wilmerhale.com
     WILMER CUTLER PICKERING
11    HALE AND DORR LLP
     350 South Grand Ave., Suite 2400
12   Los Angeles, CA 90071
     Telephone: (213) 443-5300
13   Fax: (213) 443-5400
14   Attorneys for Defendants
     Ryder Ripps and Jeremy Cahen
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16
                          UNITED STATES DISTRICT COURT
17
                         CENTRAL DISTRICT OF CALIFORNIA
18
                                      WESTERN DIVISION
19
20                                             Case No. 2:22-cv-04355-JFW-JEM
      Yuga Labs, Inc.,
21                                             DECLARATION OF HENRY
22                            Plaintiff,       NIKOGOSYAN IN SUPPORT OF
                                               DEFENDANTS’ SPECIFIC
23          v.                                 OBJECTIONS TO YUGA LABS
24                                             INC.’S REQUEST FOR
      Ryder Ripps, Jeremy Cahen,               REASONABLE FEES AND COST
25
26                            Defendants.      Judge: Hon. John F. Walter

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     Case No. 2:22-cv-04355-JFW-JEM                     NIKOGOSYAN DECLARATION
 Case 2:22-cv-04355-JFW-JEM Document 443-1 Filed 12/22/23 Page 2 of 5 Page ID
                                 #:35957



 1         DECLARATION OF HENRY NIKOGOSYAN IN SUPPORT OF
          DEFENDANTS’ SPECIFIC OBJECTIONS TO YUGA LABS INC.’S
 2             REQUEST FOR REASONABLE FEES AND COST
 3        I, Henry Nikogosyan, declare as follows:
 4        1.     I am an attorney with the law firm of Wilmer Cutler Pickering Hale and
 5   Dorr LLP, located at 350 South Grand Avenue Suite 2400, Los Angeles, CA 90071.
 6   I serve as counsel for Defendants Ryder Ripps and Jeremy Cahen. I am licensed to
 7   practice law in the State of California. I have personal knowledge of the facts set
 8   forth herein and with the proceedings in this case, and if called to testify as a witness
 9   thereto, I would do so competently under oath.
10        2.     A true and correct copy of Yuga Labs Inc.’s (“Yuga”) Attorneys’ Fees
11   spreadsheet with tabs outlining topic specific totals, duplicative entries, block billing,
12   and travel hours calculated by Defendants’ counsel is Exhibit 1 and has been
13   submitted to the Special Master directly by email.
14        3.     A true and correct copy of excerpts from the Wolters Kluwer 2022 Real
15   Rate Report is attached as Exhibit 2.
16        4.     A true and correct copy of the transcript of Jason Cline’s deposition,
17   dated March 24, 2023, is Exhibit 3 and has been submitted to the Special Master
18   directly by email.
19        5.     A true and correct copy of the transcript of Ian Garner’s deposition, dated
20   March 8, 2023, is Exhibit 4 and has been submitted to the Special Master directly by
21   email.
22        6.     A true and correct copy of Yuga’s subpoena to produce documents to
23   Raymond Efthimiou is attached as Exhibit 5.
24        7.     A true and correct copy of Yuga’s subpoena to produce documents to
25   Claudia Krinke is attached as Exhibit 6.
26        8.     A true and correct copy of Yuga’s subpoena to produce documents to
27   Melissa Beth Sconyers is attached as Exhibit 7.
28   Case No. 2:22-cv-04355-JFW-JEM             -1-           NIKOGOSYAN DECLARATION
 Case 2:22-cv-04355-JFW-JEM Document 443-1 Filed 12/22/23 Page 3 of 5 Page ID
                                 #:35958



 1         9.    A true and correct copy of Yuga’s subpoena to produce documents to
 2   Maxwell John Gail is attached as Exhibit 8.
 3         10.   A true and correct copy of Yuga’s subpoena to produce documents to
 4   Jason Cline is attached as Exhibit 9.
 5         11.   A true and correct copy of Yuga’s subpoena to Jason Cline to testify at a
 6   deposition and trial is attached as Exhibit 10.
 7         12.   A true and correct copy of Yuga’s subpoena to produce documents to
 8   Michael Matthews is attached as Exhibit 11.
 9         13.   A true and correct copy of Yuga’s subpoena to produce documents to
10   Phillip Krzankowski is attached as Exhibit 12.
11         14.   A true and correct copy of Yuga’s subpoena to produce documents to Ian
12   Garner is attached as Exhibit 13.
13         15.   A true and correct copy of Yuga’s subpoena to Ian Garner to testify at a
14   deposition is attached as Exhibit 14.
15         16.   A true and correct copy of Yuga’s subpoena to Ian Garner to testify at
16   trial is attached as Exhibit 15.
17         17.   A true and correct copy of Yuga’s subpoena to produce documents to
18   Live9000 LLC is attached as Exhibit 16.
19         18.   A true and correct copy of Yuga’s subpoena to produce documents to
20   Rochelle Conroy Booth is attached as Exhibit 17.
21         19.   A true and correct copy of Yuga’s subpoena to produce documents to
22   Yoram Dor is attached as Exhibit 18.
23         20.   A true and correct copy of Yuga’s subpoena to produce documents to
24   Lindsay Howard is attached as Exhibit 19.
25         21.   A true and correct copy of Yuga’s subpoena to produce documents to
26   Jason Williams is attached as Exhibit 20.
27
28   Case No. 2:22-cv-04355-JFW-JEM              -2-        NIKOGOSYAN DECLARATION
 Case 2:22-cv-04355-JFW-JEM Document 443-1 Filed 12/22/23 Page 4 of 5 Page ID
                                 #:35959



 1        22.    A true and correct copy of Yuga’s subpoena to produce documents to
 2   Magdalena Sawon is attached as Exhibit 21.
 3        23.    A true and correct copy of Yuga’s subpoena to Rodney Ripps to testify at
 4   a hearing or trial is attached as Exhibit 22.
 5        24.    A true and correct copy of the transcript for a hearing held in this matter
 6   on June 16, 2023 is attached as Exhibit 23.
 7        I declare under penalty of perjury under the laws of the United States of
 8   America that the foregoing is true and correct.
 9        Executed in California on December 22, 2023.
10
11                                               /s/ Henry Nikogosyan           .
12                                               Henry Nikogsoyan
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28   Case No. 2:22-cv-04355-JFW-JEM             -3-          NIKOGOSYAN DECLARATION
 Case 2:22-cv-04355-JFW-JEM Document 443-1 Filed 12/22/23 Page 5 of 5 Page ID
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1                   ATTESTATION OF CONCURRENCE IN FILING
2          Pursuant to the United States District Court for the Central District of California’s
3    Civil L.R. 5-4.3.4(a)(2)(i), Louis Tompros attests that concurrence in the filing of
4    this document has been obtained from Henry Nikogsoyan.
5
6    Dated: December 22, 2023                By: /s/ Louis W. Tompros              .
7                                                 Louis W. Tompros (pro hac vice)
                                                  louis.tompros@wilmerhale.com
8                                                 WILMER CUTLER PICKERING
                                                    HALE AND DORR LLP
9                                                 60 State Street
                                                  Boston, MA 02109
10                                                Telephone: (617) 526-6000
                                                  Fax: (617) 526-5000
11
                                                  Attorney for Defendants
12                                                Ryder Ripps and Jeremy Cahen
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     Case No. 2:22-cv-04355-JFW-JEM                            NIKOGOSYAN DECLARATION
